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                      IN THE UNITED STATES DISTRICT COURT
                      FOR THE SOUTHERN DISTRICT OF TEXAS
                                McALLEN DIVISION

JUAN VILLANUEVA                             §
                                            §
                                            §       CIVIL ACTION NO. 7:15-cv-135
VS.                                         §
                                            §       JURY DEMANDED
ALLSTATE TEXAS LLOYDS                       §

                                NOTICE OF SETTLEMENT

TO THE HONORABLE JUDGE OF SAID COURT:

       The Defendant herein would advise the Court that the parties have reached a settlement and

therefore, request that all deadlines be suspended pending documentation of settlement.

                                                    Respectfully submitted,

                                                    BY:      /s/ Rosemary Conrad-Sandoval
                                                    Rosemary Conrad-Sandoval
                                                    Attorney-in-charge
                                                    State Bar #04709300
                                                    Federal ID #13738

                                                    Of Counsel
                                                    ROERIG, OLIVEIRA & FISHER, L.L.P.
                                                    10225 North 10th Street
                                                    McAllen, Texas 78504
                                                    (956) 393-6300
                                                    (956) 386-1625 (Fax)

                                                    ATTORNEYS FOR DEFENDANT
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                                           CERTIFICATE OF SERVICE

          I, the undersigned, hereby certify that a true and correct copy of the foregoing Notice of

Removal has been sent via electronic messaging, to the Attorney for Plaintiff, as follows:

          Chris Schlieffer
          Scott G. Hunziker
          THE VOSS LAW FIRM
          26619 Interstate 45 South
          The Woodlands, Texas 77380

on this 12th day of February, 2016.


                                                                       /s/ Rosemary Conrad-Sandoval
                                                                      ROSEMARY CONRAD-SANDOVAL




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